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                                     IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF OREGON
                                              PORTLAND DIVISION

              KELLY CAHILL, et al., individually and            Case No. 3:18-cv-01477-JR
              on behalf of others similarly situated,
                                                  Plaintiffs,   DECLARATION OF BYRON
                                                                GOLDSTEIN IN SUPPORT OF
              vs.                                               PLAINTIFFS’ MOTION FOR CLASS
                                                                CERTIFICATION
              NIKE, INC., an Oregon Corporation,
                                            Defendant.          FILED WITH REDACTIONS




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                   I, Byron Goldstein, declare as follows:

                   1.      I am a member in good standing of the Bar of the State of California and a partner

            at the law firm of Goldstein Borgen Dardarian & Ho in Oakland, California. I am counsel for

            Plaintiffs, Opt-in Plaintiffs, and the putative class members, along with Markowitz Herbold,

            Ackerman & Tilajef, and India Lin Bodien Law. I am providing this declaration in support of

            Plaintiffs’ Motion for Class Certification. I have personal knowledge of the facts set forth in this

            declaration and could and would testify competently to them if called upon to do so.

                   2.      This declaration concerns discovery Plaintiffs sought concerning Plaintiffs’ initial

            job assignment allegation (see ECF 42, ¶ 10). Section I describes the relevant discovery requests

            as well as unproduced discovery related to Plaintiffs’ initial job assignment allegation. This

            declaration also concerns the authentication of the Parties’ submissions to the Court requesting

            discovery orders, which is provided in Section II.

            I.      PLAINTIFFS’ DISCOVERY REQUESTS TO NIKE SEEKING DISCOVERY ON
                        PLAINTIFFS’ INITIAL JOB ASSIGNMENT ALLEGATION.

                   3.      Plaintiffs served Requests for Production (“RFPs”) seeking discovery concerning

            Nike’s policies and practices related to initial job assignment. See RFPs 1-4, 9, 11, and 32.

            These RFPs are contained in Plaintiffs’ First Set of RFPs to Nike, which were served on March

            22, 2019. A true and correct copy of Plaintiffs’ First Set of RFPs is attached hereto as Exhibit 1.

                           a.      These RFPs sought discovery concerning Nike’s policies, practices, or

            procedures related to initial job assignment. RFP 4 requested documents concerning policies or

            practices related to job offers for employees in Covered Positions, including band level or job

            assignments, related trainings, and documents identifying persons involved with disseminating,

            implementing, monitoring, and enforcing these policies and practices. RFP 9 requested

            documents concerning policies, practices, or procedures related to the assignment of a new hire


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            to a Covered Position. RFP 11 requested documents and communications related to any

            executive’s involvement in the setting or review of any policies, practices, or procedures

            concerning the Covered Positions and job assignment, job applications, or decisions on job

            applications for new hires.

                           b.      These RFPs also sought discovery concerning data related to initial job

            assignment and the availability of such data. RFP 1 requested job application data for new hires.

            RFP 2 requested documents showing the systems Nike used to track, store, or access information

            or generate reports related to employees in the Covered Position for job applications and

            decisions on job applications for new hires. RFP 3 requested documents that would help

            Plaintiffs understand those Nike systems related to RFPs 1-2. RFP 32 requested discovery

            concerning Nike’s policies or practices about retaining or deleting the requested discovery.

                   4.      Nike did not produce documents in effect prior to November 2018 that show the

            steps, policies, procedures, or guidelines concerning how employees in Covered Positions were

            hired, including their initial job assignment. This belief is based on: (1) the documents listed in

            the following subparagraphs, which are documents that other Nike documents and Nike

            testimony indicate existed and were not produced, and (2) Plaintiffs’ counsel’s thorough review

            and searches through all the documents Nike produced in all of Nike’s productions.

                           a.      Based on Plaintiffs’ counsel’s thorough review and searches through all

            the documents Nike produced in all of Nike’s productions and the following, Nike did not

            produce any pre-December 13, 2018 version of its “Hiring Process” document. Nike produced a

            version of this document that was in effect beginning December 13, 2018. See Sun Decl. Ex. 11.

            Nike’s “Hiring Process” document states it “is a quick guide to educate key players on their roles

            and responsibilities when looking to hire great talent at NIKE, inc.,” and “[u]se this resource to



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            learn about your role – as well as when to rely on other stakeholders – throughout the hiring

            process.” Id. at NIKE_00003185. Nike changed its “Hiring Process” document on December

            13, 2018 and there was at least one prior version in effect before December 2018 based on the

            following two Nike documents: (1) the “Hiring Process” document Nike produced states it was

            “Updated” on December 13, 2018 (id. at NIKE_00003186), and (2) Nike produced a document

            from October 2017 that was sent to all Nike Talent Acquisition employees that lists a “Hiring

            Process” document (See Exhibit 2, attached hereto, which is a true and correct copy of an email

            from Daniel Laboe, regarding “Commitment to Pay Equity,” sent October 12, 2017

            (NIKE_00024727), produced by Nike in this litigation, and entered as deposition exhibit 673 at

            the deposition of Shine Thomas, March 26, 2021).

                           b.     Based on Plaintiffs’ counsel’s thorough review and searches through all

            the documents Nike produced in all of Nike’s productions and the following, Nike did not

            produce any pre-December 10, 2018 version of its “Manager Playbook Hiring” document. Nike

            produced a version of this document that was in effect beginning December 10, 2018. Sun Decl.

            Ex. 14. Nike’s “Manager Playbook Hiring” lists the “role of manager” and “manager activities”

            in hiring. Id. Nike changed its “Manager Playbook Hiring” document on December 10, 2018

            and there was at least one prior version in effect before December 2018 based on the following

            two Nike documents: (1) the “Manager Playbook Hiring” document Nike produced states it was

            “Updated” on December 10, 2018 (id.), and (2) Nike produced a document from October 2017

            that was sent to all Nike Talent Acquisition employees that lists a “Manager Playbook Hiring”

            document that Nike had then (Ex 2).

                           c.     Based on Plaintiffs’ counsel’s thorough review and searches through all

            the documents Nike produced in all of Nike’s productions and the following, Nike did not



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            produce complete versions of its “Talent Acquisition Playbook,” which is also referred to as “TA

            Playbook.” Nike documents and testimony from its Rule 30(b)(6) witness state that Talent

            Acquisition manages the hiring process from the time a job is posted until a candidate is selected.

            See Plaintiffs’ Motion In Support of Class Certification at 27. The “Talent Acquisition

            Playbook,” according to a Nike witness’ testimony, is the main source of policies and guidelines

            for members of the Talent Acquisition organization. Id. Another Nike witness testified that the

            “TA playbook was created, I think, sometime in 2016,” and that Nike puts “new material” and

            “new policy changes” into the TA Playbook. See Exhibit 3, attached hereto, which is a true and

            correct copy of excerpts from the deposition of Julian Miller, taken June 3, 2021, (“Miller Dep.”)

            101:18-102:12. Nike produced a document from October 2017 that was sent to all Nike Talent

            Acquisition employees directing them to “Review the resources on the “TA Playbook,” which

            indicates that Nike has had a “TA Playbook” since at least October 2017. Ex. 2 at

            NIKE_00024727.

                   5.      Nike did not produce any data from its Avature system, including data related to

            Nike’s sourcing of external candidates who were hired into Covered Positions and had not

            applied to the open job being sourced. A Nike witness testified Avature is “a tool …. primarily

            used for proactive sourcing of prospects.” See Exhibit 4, attached hereto, which is a true and

            correct copy of excerpts from the deposition of Shine Thomas, taken on March 26, 2021,

            (“Thomas Dep.”) 42:20-43:7. According to this Nike witness, proactive sourcing of prospects

            involved Nike identifying potential candidates for positions that had not yet been officially

            posted and contacting them to gather their interest in potential positions at Nike. Id. at 44:17-

            45:21. Another Nike witness testified, “Avature is a tool by which recruiters can log

            information, as this says, for passive candidates… These are candidates that have not applied to



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            an open job….” Ex. 3, Miller Dep. 74:13-75:7. This Nike witness also testified that Avature

            contains information “regarding … qualifications … [and] experiences” of candidates that is not

            in Taleo, and “[t]here’d be no information in Taleo that [candidates] were sourced from

            Avature;” Taleo would just say “that a candidate has applied.” Id. 76:4-77:7.

                   6.         Nike did not produce complete data from its Taleo system, including data related

            to Nike’s matching of candidates to job requisitions. Taleo “has all the history of all the

            candidates who’ve applied to our open roles.” Ex. 4, Thomas Dep. 237:7-14. Another Nike

            witness testified that there are hundreds of different Taleo fields related to posting and filling

            jobs that were not produced. Ex. 3, Miller Dep. 127:3-128:19. This witness testified that these

            missing data fields include entries related to Nike’s “matched to job” practice, which is where

            Nike applied on behalf of existing candidates to other job postings, and records related to

            communications made by Nike recruiters that encouraged applicants to apply for open positions.

            Id. at 113:6-21

                   7.         Plaintiffs served a Notice of a Rule 30(b)(6) Deposition on Nike that sought

            testimony concerning initial job assignment. A true and correct copy of this deposition notice,

            introduced as deposition exhibit 501 at the deposition of Shane Walker, December 17, 2021, is

            attached here as Exhibit 5. Topic 7 sought testimony on, inter alia, hiring for covered positions.

            Topic 11 sought testimony on, inter alia, systems Nike used regarding job assignments. Topic 33

            sought testimony on, inter alia, data Nike had not produced concerning job assignment of

            covered employees, job postings, and job applications.

                   8.         Nike failed to designate a Rule 30(b)(6) witness on Topics 7, 11, and 33 with

            respect to the parts of those topics related to initial job assignment. See Exhibit 6, attached

            hereto (true and correct copies of deposition exhibits 502 (introduced at the deposition of Shane



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            Walker, December 17, 2021), 566 (introduced at the deposition of Alison Daugherty, January 8,

            2021), 597 (introduced at the deposition of Shelli White, January 29, 2021), 629 (introduced at

            the deposition of Kendra Pryce, February 11, 2021), 635 (introduced at the deposition of

            Treasure Heinle, March 16, 2021), 652 (introduced at the deposition of Cory Gillespie, March

            25, 2021), 665 (introduced at the deposition of Shine Thomas, March 26, 2021), 698 (introduced

            at the deposition of Elizabeth Vales, May 27, 2021), 728 (introduced at the deposition of Julian

            Miller, June 3, 2021)) (Nike’s statements about the limits of Rule 30(b)(6) testimony that it said

            it would provide).

                             II.     THE PARTIES’ SUBMISSIONS TO THE COURT
                                      REQUESTING DISCOVERY ORDERS.

                   9.      Attached hereto as Exhibit 7 is a true and correct copy of the briefing for

            Plaintiffs’ First Letter Brief to the Court, submitted September 27, 2019, Nike’s opposition

            submitted October 4, 2019, and Plaintiffs’ reply submitted October 9, 2019. In response to the

            Parties’ briefing on this request, the Court issued an Order on October 31, 2019. ECF No. 89.

                   10.     Attached hereto as Exhibit 8 is a true and correct copy of the briefing for

            Plaintiffs’ Second Letter Brief to the Court, submitted March 4, 2020, Nike’s opposition

            submitted March 13, 2020, and Plaintiffs’ reply submitted March 18, 2020. In response to the

            Parties’ briefing on this request, the Court issued an Order on March 23, 2020 (ECF No. 99),

            which was affirmed by Judge Hernandez on November 17, 2020 (ECF No. 128).

                   11.     Attached hereto as Exhibit 9 is a true and correct copy of Plaintiffs’ Letter to the

            Court requesting enforcement of the Court’s March 23, 2020 Order, submitted May 7, 2020,

            Nike’s Email Response submitted May 7, 2020, and the Court’s response sent on May 8, 2020.

                   12.     Attached hereto as Exhibit 10 is a true and correct copy of the briefing for

            Plaintiffs’ Third Letter Brief to the Court and the Declaration of James Kan in support, submitted


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            June 5, 2020, Nike’s opposition submitted June 22, 2020, and Plaintiffs’ Reply submitted June

            29, 2020. In response to the Parties’ briefing on this request, the Court issued an Order on July

            2, 2020. ECF No. 108.

                   13.     Attached hereto as Exhibit 11 is a true and correct copy of the briefing for

            Plaintiffs’ Fourth Letter Brief to the Court and the Declaration of Byron Goldstein in support,

            submitted June 30, 2020, Nike’s opposition submitted July 17, 2020, and Plaintiffs’ reply

            submitted July 22, 2020. In response to the Parties’ briefing on this request, the Court issued an

            Order on August 10, 2020. ECF No. 111.

                   14.     Attached hereto as Exhibit 12 is a true and correct copy of the briefing for

            Plaintiffs’ Fifth Letter Brief to the Court, submitted August 7, 2020, Nike’s opposition and

            declarations submitted September 8, 2020, Plaintiffs’ reply and the Declaration of Byron

            Goldstein in support submitted September 15, 2020, and Nike’s Sur-Reply and declaration

            submitted September 22, 2020. In response to the Parties’ briefing on this request, the Court

            issued an Order on October 9, 2020. ECF No. 117.

                   15.     Attached hereto as Exhibit 13 is a true and correct copy of the briefing for

            Plaintiffs’ Letter to the Court requesting unredacted names in the Starfish Survey, submitted

            October 15, 2020, and Nike’s opposition submitted October 16, 2020. In response to the Parties’

            briefing on this request, the Court issued an Order on November 23, 2020. ECF No. 130.

                   16.     After the Court compelled Nike to produce an unredacted copy of the “Starfish

            Survey” or the packet of complaints provided to Nike’s CEO in March 2018, ECF No. 130, the

            documents included the names of at least 22 Nike executives listed in the Survey who Nike had

            previously redacted and who were alleged to have discriminated or condoned discrimination.

            The people identified in the Survey who have been Nike executives are



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                   17.     Attached hereto as Exhibit 14 is a true and correct copy of the briefing on Nike’s

            Request for a Protective Order, submitted November 11, 2020, Plaintiffs’ opposition submitted

            November 25, 2020, and Nike’s reply submitted December 14, 2020. In response to the Parties’

            submissions, the Court issued an Order on December 17, 2020. ECF No. 131. The declarations

            in support of the briefing are omitted from this exhibit for brevity.

                   18.     Attached hereto as Exhibit 15 is a true and correct copy of Plaintiffs’ Sixth Letter

            Brief to the Court, submitted March 1, 2021, Nike’s opposition and declaration submitted March

            15, 2021, Plaintiffs’ reply submitted March 17, 2021, and Nike’s Sur-Reply submitted March 19,

            2021. Plaintiffs’ March 1, 2021 submission requested an order to compel discovery concerning,

            inter alia, Nike’s organizational structure based on “[r]ecent deposition testimony of Nike’s Rule

            30(b)(6) designees have confirmed the existence of several documents whose production is either

            already ordered by this Court (for some subject to two separate orders) or is required by long ago

            served document requests.”

                           a.      In response to the Parties’ briefing on this request, the Court issued an

            Order on March 30, 2021, compelling Nike to produce, inter alia, “Organizational Charts granted

            to the extent they already exist.” ECF No. 135. After this March 30, 2021 Order, Nike’s

            productions made clear that Nike possessed many thousands of organizational charts because, as

            Nike stated in its June 2, 2021 letter to Plaintiffs, “we have produced more than 5,000

            organizational charts ….” The organizational charts Nike produced included, at least, many



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            hundreds created prior to March 30, 2021, including numerous organizational charts created each

            year between 2014 through 2020.

                    19.    Attached hereto as Exhibit 16 is a true and correct copy of Plaintiffs’ Request for

            a Discovery Conference, submitted March 12, 2021, and Nike’s response submitted March 12,

            2021.

                    20.    Attached hereto as Exhibit 17 is a true and correct copy of Plaintiffs’ Seventh

            Letter Brief to the Court, submitted March 23, 2021, and Nike’s opposition submitted March 30,

            2021. In response to the Parties’ briefing on this request, the Court issued an Order on April 1,

            2021. ECF No. 136.

                    I declare under penalty of perjury under the laws of the State of California and of the

            United States that the foregoing is true and correct, and that this Declaration was executed this

            10th day of January, 2022 in Oakland, California.


                                                          /s/ Byron Goldstein
                                                          Byron Goldstein




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